     Case 2:20-cv-08948-JFW-JDE Document 30 Filed 11/29/21 Page 1 of 3 Page ID #:588




 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11    MECHIRO LENITA JANIECE                  )   Case No.: 2:20-cv-08948-JFW-JDE
      SMITH,                                  )
12                                            )   ORDER TO SHOW CAUSE RE
13                             Plaintiff,     )   DISMISSAL RE PLAINTIFF’S
            v.                                )   REPEATED FAILURES TO
14                                            )   COMPLY WITH THE CASE
      KILOLO KIJAKAZE, Acting                 )   MANAGEMENT ORDER
15    Commissioner of Social Security,        )
16                                            )
                               Defendant.     )
17
18          The Case Management and Scheduling Order in the action sets forth
19    deadlines for the preparation and filing of the Joint Stipulation governing the
20    action. Dkt. 6 (“CMO”). Among other things, the CMO directs Plaintiff to
21    provide her portion of the Joint Stipulation to Defendant in an appropriate
22
      electronic format 35 days after the filing of the Answer. Id., ¶ 5(a). The CMO
23
      also provides if a party seeks relief from any deadline, the party should do so
24
      “in advance of any deadlines.” Id., ¶ 7. Per prior order, Plaintiff was required to
25
      provide her portion of the Joint Submission to counsel for Defendant by
26
      November 16, 2021. See Dkt. 22. On November 29, 2021, Defendant filed a
27
      Notice of Non-Receipt stating Plaintiff had not, as of that date, provided
28
     Case 2:20-cv-08948-JFW-JDE Document 30 Filed 11/29/21 Page 2 of 3 Page ID #:589




 1    Plaintiff’s portion of the Joint Submission to Defendant’s counsel in an
 2    appropriate electronic format. Dkt. 29.
 3          Throughout this case, Plaintiff has repeatedly failed to comply with her
 4    obligations under the CMO and repeatedly violated the Local Rules and the
 5    orders of this Court. See, e.g., Dkt. 4, 12, 14, 16, 17, 22, 24, 25, 27, 28. Plaintiff
 6    has been repeatedly ordered to provide her portion of the Joint Stipulation to
 7    Defendant in compliance with ¶ 5(a) of the CMO. See Dkt. 6, 22 (granting sua
 8    sponte extension of “Plaintiff’s time to provide her portion of the Joint
 9    Stipulation to the Commissioner under the CMO by 35 days, to November 16,
10
      2021”), 25, 28 (ordering “PLAINTIFF’S COUNSEL IS ORDERED TO
11
      READ PARAGRAPH 5 OF THE [CMO] REGARDING THE
12
      PREPARATION OF THE JOINT SUMISSION AND COMPLY WITH
13
      THOSE PROCEDURES”). Plaintiff has been cautioned that, as she has
14
      repeatedly failed to comply with the orders of the Court regarding the
15
      preparation of the Joint Submission, that sanctions, up to and including
16
      dismissal, could be imposed for further failures. See Dkt. 22 (“Plaintiff is
17
      advised that any further failure to prosecute this action in a timely fashion or
18
      comply with the Local Rules will result in an Order to Show Cause re
19
      Sanctions, up to and including possible dismissal”), 25 (“Plaintiff is again
20
21    advised that further violations may result in monetary or other sanctions, up to

22    and including dismissal.”).

23          Based on Defendant’s Notice of Non-Receipt, it appears Plaintiff again

24    has failed to comply with her obligations under the CMO and/or the Local
25    Rules. As Plaintiff has committed several prior violations of the CMO and the
26    Local Rules in this action, and as Plaintiff has twice been warned that further
27    violations may result in sanctions, up to and include dismissal,
28
                                                2
     Case 2:20-cv-08948-JFW-JDE Document 30 Filed 11/29/21 Page 3 of 3 Page ID #:590




 1          PLAINTIFF IS HEREBY ORDERED TO SHOW CAUSE, in writing,
 2    filed on the docket of this action within 4 days of the date of this Order, why
 3    this action should not be dismissed for Plaintiff’s failure to timely prosecute this
 4    action and for failure to comply with Court orders in failing to provide
 5    Defendant’s counsel with Plaintiff’s portion of the Joint Submission by
 6    November 16, 2021. As part of that written response, Plaintiff shall advise
 7    whether she has yet provided her portion of the Joint Submission in an
 8    appropriate electronic format to counsel for Defendant. Any briefing obligation
 9    by Defendant under the CMO is stayed pending consideration of Plaintiff’s
10
      response to this Order to Show Cause. Plaintiff is advised that a failure to file a
11
      compliant, timely response to this Order to Show Cause may result in
12
      sanctions, including dismissal, for failure to prosecute and failure to comply
13
      with a Court order. See Fed. R. Civ. P. 41(b).
14
            IT IS SO ORDERED.
15
16
17    Dated: November 29, 2021                     ______________________________
18                                                 JOHN D. EARLY
                                                   United States Magistrate Judge
19
20
21
22
23
24
25
26
27
28
                                               3
